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                 United States Court of Appeals
                                 For the Seventh Circuit
                                 Chicago, Illinois 60604

                                     October 16, 2023

                           DIANE P. WOOD, Circuit Judge

                           DAVID F. HAMILTON, Circuit Judge

                           MICHAEL B. BRENNAN, Circuit Judge

No. 21-2325

SAINT ANTHONY HOSPITAL,                         On Remand from the Supreme Court of
     Plaintiff-Appellant,                       the United States.

      v.

THERESA A. EAGLESON, in her official
capacity as Director of the Illinois
Department of Healthcare and Family
Services,
       Defendant-Appellee,
and

MERIDIAN HEALTH PLAN OF
ILLINOIS, INC., et al.,
     Intervening Defendants-Appellees.

                                         ORDER

       Upon consideration of the parties’ submissions under Circuit Rule 54, the court
orders further briefing on the appropriate disposition of this case at this point as
follows.
      Plaintiff may file a supplemental brief no later than Monday, November 6, 2023.
Defendant and intervening defendants may file response briefs no later than Tuesday,
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November 28, 2023. Plaintiff may then file a reply brief no later than Tuesday,
December 5, 2023. The briefs are subject to the word limits of Circuit Rule 32.
      Upon review of the parties’ Rule 54 submissions, the panel has concluded that it
does not intend to address arbitration issues at this point.
      The court is not at this time scheduling a further oral argument.
